        Case 18-17959-amc              Doc 21 Filed 01/10/19 Entered 01/11/19 01:05:41                               Desc Imaged
                                            Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 18-17959-amc
Dominic Fabbia                                                                                             Chapter 13
Patricia Fabbia
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: Virginia                     Page 1 of 1                          Date Rcvd: Jan 08, 2019
                                      Form ID: pdf900                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 10, 2019.
db/jdb         +Dominic Fabbia,   Patricia Fabbia,   9937 MEDWAY RD,   PHILADELPIA, PA 19115-1325

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 10, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 8, 2019 at the address(es) listed below:
              JOSHUA A. GILDEA    on behalf of Creditor   Salmon Country, Inc. jgildea@flblaw.com,
               ccharlton@flblaw.com
              PAMELA ELCHERT THURMOND    on behalf of Creditor   City of Philadelphia pamela.thurmond@phila.gov,
               karena.blaylock@phila.gov
              PETER FRANCIS BLUST    on behalf of Joint Debtor Patricia Fabbia peterfblust@gmail.com
              PETER FRANCIS BLUST    on behalf of Debtor Dominic Fabbia peterfblust@gmail.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM C. MILLER, Esq.    ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                             TOTAL: 6
Case 18-17959-amc      Doc 21 Filed 01/10/19 Entered 01/11/19 01:05:41                      Desc Imaged
                            Certificate of Notice Page 2 of 2


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